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  8                                  UNITED STATES DISTRICT COURT
  9                                SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                      CASE NO. 01cr1652 JM
                                                                      CIVIL NO. 07cv0496 JM
 12                                  Plaintiff/Respondent,
               vs.                                                    ORDER GRANTING EXTENSION
 13                                                                   OF TIME TO FILE REPLY BRIEF
       VICTOR SAVCHENKO,
 14
                                     Defendant/Petitioner.
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 16
             For good cause shown, the court grants Defendant’s ex parte motion for an enlargement of
 17
      time to file a reply brief. Defendant shall file and serve his reply brief by August 28, 2009. The Clerk
 18
      of Court is instructed to file Defendant’s ex parte application nunc pro tunc to July 8, 2009.
 19
             IT IS SO ORDERED.
 20
      DATED: August 6, 2009
 21
 22                                                          Hon. Jeffrey T. Miller
                                                             United States District Judge
 23   cc:            All parties

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